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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
 RDI OF MICHIGAN, LLC,

        Plaintiff,
 v.                                                     Case No. 08-11177
                                                        Hon. Lawrence P. Zatkoff
 MICHIGAN COIN-OP VENDING,
 INC. and JORDAN MIRCH,

       Defendants.
 _____________________________________________/

                                      OPINION AND ORDER

                             AT A SESSION of said Court, held in the
                        United States Courthouse, in the City of Port Huron,
                        State of Michigan, on August 24, 2009

                     PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                             UNITED STATES DISTRICT JUDGE

                                        I. INTRODUCTION

        This matter is before the Court on Plaintiff’s Motion for Summary Judgment Against

 Defendant Jordan Mirch (“Mirch”) (Docket #61), wherein Plaintiff seeks entry of a permanent

 injunction against Mirch and awards of statutory damages and attorney fees. Mirch filed a response,

 to which Plaintiff replied. The Court finds that the facts and legal arguments pertinent to the Motion

 are adequately presented in the parties’ papers, and the decision process will not be aided by oral

 arguments. Therefore, pursuant to E.D. Mich. Local R. 7.1(e)(2), it is hereby ORDERED that the

 Motion be resolved on the briefs submitted, without this Court entertaining oral arguments. For the

 reasons that follow, the Court holds that (1) Plaintiff’s Motion for Summary Judgment is

 GRANTED, (2) a permanent injunction shall be issued against Mirch, (3) Plaintiff is entitled to

 statutory damages, and (4) Plaintiff is entitled to attorney fees and costs.
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                                       II. BACKGROUND

        Plaintiff has an exclusive license in Michigan for the copyrights and trademarks to certain

 video poker games, specifically the Merit “Superstar” or “Americana” video poker games (the

 “Video Poker Games”). On April 9, 2007, Defendants Michigan Coin-Op Vending, Inc. (“Coin-

 Op”) and Mirch, the owner of Coin-Op, as lessees, and Plaintiff, as lessor, entered into a Lease

 Agreement. Pursuant to the terms of the Lease Agreement, Defendants admitted that they had

 engaged in unlicensed copying of one or more Video Poker Games prior to April 2007. Under the

 Lease Agreement, Plaintiff granted Coin-Op and Mirch a valid license to distribute the Video Poker

 Games to restaurants, bars and halls throughout Michigan. Defendants distributed approximately

 127 Video Poker Games under the terms of the Lease Agreement.

        On January 11, 2008, Plaintiff initiated a state law breach of contract action against Coin-Op

 and Mirch in Oakland County Circuit Court (the “Oakland litigation”). In the Oakland litigation,

 Plaintiff alleged that Defendants breached their obligations by failing to make payments due under

 the Lease Agreement, failing to return authorized circuit boards,1 and failing to use authorized

 circuit boards. Ultimately, Plaintiff obtained default judgment against Mirch in the Oakland

 litigation in the amount of $2,002,294.16.

        On Wednesday, March 19, 2008, Plaintiff filed a Verified Complaint, Motion for Temporary

 Restraining Order and Brief in Support Thereof in this Court. Plaintiff alleged that Defendants

 began illegally copying the Video Poker Games (and/or the computer source code from which the



        1
          A “circuit board” means the physical unit on which a U9 computer chip and other
 programmable chips are positioned. When the circuit boards supplied to Coin-Op and Mirch by
 Plaintiff (i.e., the authorized circuit boards) were properly installed into a game cabinet, a
 consumer would be able to play the Video Poker Games.

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 Video Poker Games derive) again in January 2008 in order to avoid liability in the Oakland

 litigation. Two former employees of Coin-Op, Kevin Carson (“Carson”) and Daniel Domek

 (“Domek”), have submitted affidavits wherein they state that Mirch ordered them to assist him in

 copying computer or circuit boards and/or U9 computer chips using the Eprom chip burner and that

 they did so. Both former employees state that this copying occurred during a 48-hour period

 immediately prior to a January 23, 2008, preliminary injunction hearing in the Oakland litigation.

 According to Carson and Domek, Mirch expressed to them that this copying needed to be completed

 quickly so that the authentic circuit boards (those that were obtained legitimately pursuant to the

 Lease Agreement) possessed by Coin-Op could be taken into Oakland County Circuit Court for the

 preliminary injunction hearing.2

        On Thursday, March 20, 2008, the Court issued a Temporary Restraining Order, Order to

 Show Cause Why Preliminary Injunction Should Not Be Entered, and Order for Seizure and

 Impoundment of Infringing Goods (the “TRO”). On the morning of Friday, March 21, 2008,

 Plaintiff’s owner, one of Plaintiff’s attorneys, Carson and Dan Pauley (an officer of a district court

 in Michigan (“Pauley”)) (collectively, the “Plaintiff Group”) accompanied U.S. Deputy Marshal

 Scott Machlay (“Machlay”) to Coin-Op’s premises. No items were seized by the Plaintiff Group

 while at Coin-Op that day, but members of the Plaintiff Group asserted that they saw infringing

 materials on the Coin-Op premises, including U9 chips, the Eprom chip burner and ultraviolet

 eraser. Later that day and into the next week, Pauley (and men he assembled) executed the TRO

 at bars, restaurants and halls in Michigan. When doing so, they removed video machines that



        2
         In fact, Defendants produced the authentic circuit boards at theat hearing, and the
 request for preliminary injunction was denied.

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 contained infringing materials or chips.

        At a hearing held on March 27, 2008, the Court denied Defendants’ motion to dissolve the

 TRO. The parties then entered a “Stipulation for Standstill Agreement” (“Standstill Agreement”)

 which required Defendants to allow an inspection of the Coin-Op warehouse and other locations

 where the infringing Video Poker Games were located. When Defendants did not cooperate in

 allowing the inspection to be completed, Plaintiff renewed its motion for preliminary injunction.

 In an Opinion and Order dated December 8, 2008, the Court granted Plaintiff’s motion for

 preliminary injunction against Defendants with respect to the Video Poker Games. On February 3,

 2009, the Court entered a Consent Judgment stipulated to by Plaintiff and Coin-Op. The Consent

 Judgment provided for permanent injunctive relief against Coin-Op with respect to the Video Poker

 Games.



                                    III. LEGAL STANDARD

        Summary judgment is appropriate only if the answers to the interrogatories, depositions,

 admissions, and pleadings, combined with any affidavits in support show that no genuine issue as

 to any material fact remains and that the moving party is entitled to a judgment as a matter of law.

 See FED. R. CIV. P. 56(c). A genuine issue of material fact exists when there is “sufficient evidence

 favoring the nonmoving party for a jury to return a verdict for that party.” Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 249 (1986)(citations omitted). In application of this summary judgment

 standard, the Court must view all materials supplied, including all pleadings, in the light most

 favorable to the non-moving party. Matsushita Electric Indus. Co. v. Zenith Radio Corp., 475 U.S.

 574, 587 (1986). “If the evidence is merely colorable or is not significantly probative, summary


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 judgment may be granted.” Anderson, 477 U.S. at 249-50 (citations omitted).

        The moving party bears the initial responsibility of informing the Court of the basis for its

 motion and identifying those portions of the record that establish the absence of a genuine issue of

 material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met

 its burden, the nonmoving party must go beyond the pleadings and come forward with specific facts

 to demonstrate that there is a genuine issue for trial. See FED. R. CIV. P. 56(e); Celotex, 477 U.S.

 at 324. The nonmoving party must do more than show that there is some metaphysical doubt as to

 the material facts. It must present significant probative evidence in support of its opposition to the

 motion for summary judgment in order to defeat the motion for summary judgment. See Moore v.

 Phillip Morris Co., 8 F.3d 335, 339-40 (6th Cir. 1993).



                                          IV. ANALYSIS

 A.     Mirch Liable for Copyright Infringement

        In order to establish a claim for copyright infringement, a plaintiff must show: (1) ownership

 of a valid copyright, and (2) copying of constituent elements of work that are original. Frisch’s

 Restaurant, Inc. v. Shoney’s, Inc., 759 F.2d 1261, 1263 (6th Cir. 1985).

        1.      Ownership

        Although Mirch previously contested the validity of the copyrights asserted by Plaintiff,

 Mirch makes no such defense in response to the instant motion. Moreover, the Court concludes that

 such a defense would be futile even if asserted.

        Merit Industries, Inc. (“Merit”) claimed certain works for hire which were registered with

 the U.S. Copyright Office. The relevant works include the Merit CRT200, CRT250 and CRT260


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 circuit boards and the following games in those boards: Riviera Poker, Riviera Americana, Riviera

 Hi Score, Joker Poker, Double Up and Chicken Poker (i.e., the Video Poker Games). On March 12,

 2004, Merit assigned these works/games to Riviera Distributors, Inc. (“Riviera”) pursuant to a Bill

 of Sale and Intellectual Property Assignment. Three Certificates of Registration from the U.S.

 Copyright Office demonstrate that Riviera registered certain Video Poker Games in December 2004.

        Riviera then entered into an Exclusive Distributorship Agreement (the “License”) with

 Plaintiff with respect to these works on March 8, 2007. The License provides that Plaintiff has an

 exclusive license for Riviera’s “products” in the State of Michigan. Pursuant to the License,

 “products” mean

                the hardware and software sold by [Riviera] to [Plaintiff], which
                relate to [Riviera]’s proprietary circuit board designed to operate the
                software based upon the Riviera Americana source code and/or any
                other video poker games sold by [Riviera].

 The License also provides that Plaintiff has the right to enforce the “copyrights” within the State of

 Michigan and to sue for any past, present or future infringement of the copyrights. Pursuant to the

 License, “copyrights” means

                any and all copyrights owned by [Riviera] covering any of the
                software, hardware, and/or audiovisual elements, including, but not
                limited to, computer code and graphic interface, which are
                incorporated or included in any of the Products; . . .

        Based on the foregoing instruments, the Court finds that Plaintiff is the exclusive licensee

 (owner) of the Video Poker Games in Michigan.

        2.      Copying

        The Court also concludes that Mirch (together with and/or through Coin-Op) engaged in the

 illegal copying of the Video Poker Games by using the Eprom chip burner and ultraviolet eraser,


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 both before and after the TRO was issued by this Court. As the affidavits of Carson and Domek

 reveal, Defendants engaged in illegal copying of the Video Poker Games in January 2008. After the

 TRO was issued but prior to the March 27, 2008, hearing, the U.S. Marshal Service caused 72

 machines to be seized from 33 locations pursuant to the TRO. In the days after the March 27, 2008,

 hearing, Mirch went to locations where the games had been seized and told the owners of those

 locations that he was entitled to replace the seized games and then he did so. Affidavits attested to

 by Pauley and others demonstrate that the replacement games installed by Defendants included

 “knock-off chips,” thereby violating the TRO and applicable law.

        In addition, when William Kroger3 went to look at the machines, it was discovered that

 Defendants had removed infringing video games from the storage facility where seized games were

 being held (and/or the U9 chips discovered during the March 21, 2008, search had been removed).

 Further, when Mr. Kroger went to some establishments, it was discovered that games not previously

 seized and inspected also were infringing games.

        For the foregoing reasons, the Court finds that Mirch engaged in illegal copying of the Video

 Poker Games, both before and after the Court issued the TRO.

        3.       Mirch’s Argument

        Although Mirch filed a brief in response to Plaintiff’s Motion for Summary Judgment, Mirch

 did not contest that he infringed on Plaintiff’s copyrights. The sole argument asserted by Mirch in

 his response brief was that Plaintiff is not entitled to entry of judgment because “[t]his case is based

 upon the same transaction and the same claims as contained in” the Oakland litigation, where an


        3
         Pursuant to the Standstill Agreement, Mr. Kroger is the person the parties agreed would
 conduct inspections of seized and non-seized games to determine if there was any infringement
 by Coin-Op and Mirch.

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 approximately $2,000,000 judgment was entered in Plaintiff’s favor against Mirch. Thus, Mirch

 argues a second judgment cannot be entered against him because it would be constitute an

 impermissible double recovery. More specifically, Mirch argues that the award in the Oakland

 litigation constituted actual damages for the copyright infringement, thus making improper

 Plaintiff’s request for statutory damages. See 17 U.S.C. § 504(a) (providing that “an infringer of

 copyright is liable for either – (1) the copyright owner’s actual damages and any additional profits

 of the infringer, . . . ; or (2) statutory damages, . . .”) (emphasis added).

         Mirch’s argument is flawed for two reasons. First, the Oakland litigation involved only state

 law breach of contract claims related to the Lease Agreement. The Oakland litigation did not

 involve any copyright infringement claims, and the default judgment entered against Mirch was not

 related to the copyright infringement claims at issue in this case. Therefore, no damages related to

 copyright infringement have been awarded to Plaintiff to date. Thus, the Court is not persuaded that

 17 U.S.C. § 504(a) bars recovery by Plaintiff for Mirch’s copyright infringement.

         Second, the conduct of Defendants at issue in this case did not even commence until January

 21, 2008, i.e., 10 days after the Oakland litigation was filed. Accordingly, Plaintiff’s infringement

 claims based on such conduct could not have been asserted when the Oakland litigation was filed.

 Therefore, to the extent Mirch’s argument could be construed as an argument that this action is

 barred by res judicata or collateral estoppel, his argument lacks merit.

         4.      Conclusion

         For the reasons set forth above, the Court grants Plaintiff’s Motion for Summary Judgment

 on its cause of action. In conjunction with that finding, the Court further concludes that (a) the

 issuance of a permanent injunction, (b) an award of statutory damages, and (c) an award of attorney


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 fees, are justified, as discussed below.

 B.     Permanent Injunction

        Based on the Court’s conclusion that Mirch has infringed on Plaintiff’s copyrights on

 multiple occasions, the Court finds that Plaintiff’s request for a permanent injunction against Mirch

 with respect to the Video Poker Games is appropriate and warranted. Therefore, the Court ORDERS

 that Mirch, individually and/or in active concert, privity or participation with any other person(s)

 or entity(ies), is permanently restrained and enjoined from:

        1.      operating, copying, reproducing, selling, offering for sale, or displaying;
        2.      transferring, moving, relocating, disposing of, dissipating, discarding, secreting, or
                hiding; and
        3.      tampering with, modifying, changing, converting, altering, adjusting, repairing,
                amending, revising, or varying
 any video poker game that incorporates, is copied from, infringes upon, is derivative of, or is an

 enhancement of the Merit “Superstar” or “Americana” video poker games or the computer source

 code from which they derive, copyrights for which are owned and/or exclusively licensed by

 Plaintiff, including, but not limited to: any such complete video poker games; computer or circuit

 board(s); U9 computer chip(s); computer equipment; or any other electronic storage devices,

 including DVDs and/or computer storage disks upon which computer code may be stored.

 C.     Statutory Damages

        Pursuant to 17 U.S.C. § 504(c)(1), a copyright owner may elect, at any time before final

 judgment, to recover statutory damages rather than actual damages and profits for all infringements.

 Statutory damages may be awarded “in a sum not less than $750 and not greater than $30,000 as the

 court considers just.” Id. In a case where a plaintiff proves and the court finds that a defendant

 committed the infringement willfully, however, “the court in its discretion may increase the award


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 of statutory damages to a sum of not more than $150,000.” 17 U.S.C. § 504(c)(2).

        Plaintiff asks the Court to award $150,000 in statutory damages based on the willful

 infringement of Plaintiff’s copyrights by Mirch. The Court finds that request reasonable in light of

 the conduct of Mirch. First, as Mirch acknowledged in entering into the Lease Agreement, he had

 engaged in unlicensed copying of one or more Video Poker Games prior to April 2007. Second,

 in conjunction with the Oakland litigation and the actions related thereto that served as the impetus

 for the present action, Mirch ordered his employees to assist him in illegal copying of the Video

 Poker Games and/or circuit boards in January 2008. This willful infringement of Plaintiff’s

 copyrights was designed to (and apparently did) deceive the Oakland County Circuit Court at a

 preliminary injunction hearing held on January 23, 2008. Finally, even after this Court entered a

 TRO prohibiting Mirch from copying any of the Video Poker Games, Mirch continued to do so.

        Based on all of these actions, the Court concludes that Mirch willfully infringed on Plaintiff’s

 copyrights and that such willful infringement justifies a significant award of statutory damages.

 Plaintiff has contended repeatedly that Defendants would generate revenue of $40,000/game per

 year for each of the 100-plus games covered by the Lease Agreement, a contention that Mirch has

 not disputed. In addition, in its Complaint and in the Motion for Summary Judgment, Plaintiff

 asserted that the licensing and royalty fees Defendants would owe Plaintiff would exceed $150,000

 per year. Mirch has not contested that statement, either. Accordingly, the Court finds that an award

 of $150,000 in statutory damages, which is less than the actual damages and profits Plaintiff could

 recover in this action, is appropriate in this case. The Court hereby ORDERS that Mirch pay

 Plaintiff $150,000 as statutory damages.

 D.     Attorney Fees


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         17 U.S.C. § 505 provides:

                 In any civil action under this title, the court in its discretion may
                 allow the recovery of full costs by or against any party other than the
                 United States or an officer thereof. Except as otherwise provided by
                 this title, the court may also award a reasonable attorney’s fee to the
                 prevailing party as part of the costs.

 The Sixth Circuit has recognized that awarding fees and costs “is the rule rather than the exception

 and [they] should be awarded routinely.” Bridgeport Music, Inc. v. WB Music Corp., 520 F.3d 588,

 592 (6th Cir. 2008). Where the defendant’s conduct involved willful infringement of copyrights,

 attorney fees are even more appropriate. See, e.g., Zomba Enterprises v. Panorama Records, Inc.,

 491 F.3d 574, 586 (6th Cir. 2007) (manufacturer’s infringements were willful and justified enhanced

 statutory damages and attorney fees); Knitwaves, Inc. v. Lollytogs Ltd., 71 F.3d 996, 1010 (2d Cir.

 1995) (“The court’s finding of willfulness supported both its award of enhanced statutory damages,

 pursuant to 17 U.S.C. § 504(c)(2), and its award of full attorney’s fees”).

         As discussed above, the Court not only finds that Mirch infringed on Plaintiff’s copyrights

 but also finds that Mirch’s infringements were willful. As (a) the award of fees and costs is the rule

 rather than the exception, and (b) an award of fees is even more appropriate where the infringement

 is willful, the Court holds that Plaintiff is entitled to attorney fees and costs incurred in prosecuting

 this action. Accordingly, the Court ORDERS Plaintiff to provide the Court with a detailed invoice

 of costs and fees incurred in conjunction with this case. Plaintiff shall file such invoice and, if it

 desires, any support for the amount of such request, no later than September 18, 2009. To the extent

 Mirch objects to the amount of the fees and costs Plaintiff requests, Mirch shall file such

 objection(s) on or before October 9, 2009.




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                                        V. CONCLUSION

        Accordingly, and for the reasons set forth above, the Court hereby GRANTS Plaintiff’s

 Motion for Summary Judgment, and IT IS HEREBY ORDERED that Mirch, individually and/or in

 active concert, privity or participation with any other person(s) or entity(ies), is permanently

 restrained and enjoined from:

        1.      operating, copying, reproducing, selling, offering for sale, or displaying;

        3.      transferring, moving, relocating, disposing of, dissipating, discarding, secreting, or
                hiding; and

        5.      tampering with, modifying, changing, converting, altering, adjusting, repairing,
                amending, revising, or varying

 any video poker game that incorporates, is copied from, infringes upon, is derivative of, or is an

 enhancement of the Merit “Superstar” or “Americana” video poker games or the computer source

 code from which they derive, copyrights for which are owned and/or exclusively licensed by

 Plaintiff, including, but not limited to: any such complete video poker games; computer or circuit

 board(s); U9 computer chip(s); computer equipment; or any other electronic storage devices,

 including DVDs and/or computer storage disks upon which computer code may be stored.

        IT IS FURTHER ORDERED that Mirch shall pay Plaintiff $150,000 in statutory damages.

        IT IS FURTHER ORDERED that Mirch shall reimburse Plaintiff for attorney fees and costs

 incurred in conjunction with this case, in an amount to be determined by the Court. Plaintiff shall

 provide the Court with a detailed invoice of costs incurred in conjunction with this case, together

 with support for such amount if Plaintiff desires, on or before September 18, 2009. Mirch shall file

 objections thereto, if any, on or before October 9, 2009.



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        Judgment shall be entered separately and at such time as the Court has determined the

 amount of fees and costs to which Plaintiff is entitled.

        IT IS SO ORDERED.



                                               S/Lawrence P. Zatkoff
                                               LAWRENCE P. ZATKOFF
                                               UNITED STATES DISTRICT JUDGE

 Dated: August 24, 2009

                                   CERTIFICATE OF SERVICE

        The undersigned certifies that a copy of this Order was served upon the attorneys of record
 by electronic or U.S. mail on August 24, 2009.


                                               S/Marie E. Verlinde
                                               Case Manager
                                               (810) 984-3290




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